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       7.       The parties are advised that the Court requires a pre-motion conference before a
motion is filed (See Rules III.A–C).

        8.      If this case has been settled or otherwise terminated, counsel are required to notify
the Court—before the date of the conference—by calling (212) 805-0292 and must e-mail a
stipulation of discontinuance, voluntary dismissal, or other proof of termination to the Orders and
Judgments Clerk (judgments@nysd.uscourts.gov).

       SO ORDERED.

Dated: May 25, 2021
       New York, New York




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